Case 4:18-cv-03834 Document 20-1 Filed on 02/02/19 in TXSD Page 1 of 1




                             EXHIBIT A

         John Doe   Store name            Merchant ID
            57      Dancer's world shop   5593bd7d139525402fdcdb35
            64      yangkang              584814e0cbf36d4cc8b563aa
            65      efdcv                 584d01d30d446320566fa815
            67      shipinwangguo         58aa778b2fddb950efc4f914
            78      ruilihuating          592e31dfff105e1ddb36f7d1
            81      zhangjinhua           5964ca7f905fdb34f348edf6
            86      86027585              59979d0535e73b7bb34ec50d
            91      aiquanstore           5ab0d4e6417cee4a85790fa7
            99      huslkongqi            5a5dee7fccd9fc29036256b0
           102      chenyuxin90963        5ab534a740626a34056f04aa




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